JS 44 (Rev. 04/21)          Case 2:24-cv-00026-MKC
                                                CIVILDocument
                                                      COVER1SHEET
                                                              Filed 01/03/24                                                                      Page 1 of 49
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
                                                                                                       ROBERT S. GOGGIN, III, ESQUIRE, GOGGIN & DUCKWORTH, P.C., FORCENO
          SEAN MURTAUGH                                                                                GOGGIN & KELLER, P.C., KELLER & GOGGIN, P.C., JORDAN LITIGATION
                                                                                                       FUNDING, LLC and NORRIS JORDAN
   (b) County of Residence of First Listed Plaintiff        Delaware                                    County of Residence of First Listed Defendant Philadelphia
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                 Attorneys (If Known)
       Zachary S. Feinberg, Esquire
       Freiwald Law, P.C., 1500 Walnut St., 18th Fl., Phila., PA 19102
       (215) 875-8000
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government              X 3    Federal Question                                                                   PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                     Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                    of Business In This State

  2    U.S. Government                 4   Diversity                                           Citizen of Another State            2          2   Incorporated and Principal Place      5      5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                               Citizen or Subject of a             3          3   Foreign Nation                        6      6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                           FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY            625 Drug Related Seizure             422 Appeal 28 USC 158      375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -           of Property 21 USC 881           423 Withdrawal             376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability       690 Other                                28 USC 157                 3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                   INTELLECTUAL             400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                               PROPERTY RIGHTS            410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                              820 Copyrights             430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                            830 Patent                 450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                            835 Patent - Abbreviated   460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                   New Drug Application X 470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                    840 Trademark                  Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                     LABOR                       880 Defend Trade Secrets   480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud             710 Fair Labor Standards                 Act of 2016                (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending            Act                                                         485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal          720 Labor/Management                  SOCIAL SECURITY               Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage             Relations                        861 HIA (1395ff)           490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage         740 Railway Labor Act                862 Black Lung (923)       850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability       751 Family and Medical               863 DIWC/DIWW (405(g))         Exchange
                                          Medical Malpractice                                         Leave Act                        864 SSID Title XVI         890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS           790 Other Labor Litigation           865 RSI (405(g))           891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:              791 Employee Retirement                                         893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee              Income Security Act              FEDERAL TAX SUITS          895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                            870 Taxes (U.S. Plaintiff      Act
  240 Torts to Land                   443 Housing/                        Sentence                                                          or Defendant)         896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                      871 IRS—Third Party        899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty               IMMIGRATION                           26 USC 7609               Act/Review or Appeal of
                                          Employment                  Other:                      462 Naturalization Application                                      Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other        465 Other Immigration                                           950 Constitutionality of
                                          Other                       550 Civil Rights                Actions                                                         State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
X 1 Original       2 Removed from                           3      Remanded from             4 Reinstated or             5 Transferred from
                                                                                                                               6 Multidistrict       8 Multidistrict
       Proceeding           State Court                            Appellate Court             Reopened                    Another District
                                                                                                                                   Litigation -        Litigation -
                                                                                                                           (specify)
                                                                                                                                   Transfer            Direct File
                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                     18 U.S.C. § 1962
VI. CAUSE OF ACTION Brief description of cause: This case arises out of Defendants’ scheme to defraud Plaintiff Sean Murtaugh out of hundreds of thousands of
                                                dollars through unauthorized, deceptive, and predatory litigation funding agreements.
VII. REQUESTED IN       CHECK IF THIS IS A CLASS ACTION                    DEMAND $
                                                                                              TBD
                                                                                                                       CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                                       JURY DEMAND:             X Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                              DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
 January 3, 2024                                                      s/Aaron J. Freiwald
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                           MAG. JUDGE
05/2023                     Case 2:24-cv-00026-MKC                            Document 1                 Filed 01/03/24                 Page 2 of 49
                                                           UNITED STATES DISTRICT COURT
                                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                              DESIGNATION FORM
                              (to be used by counsel to indicate the category of the case for the purpose of assignment to the appropriate calendar)


    Address of Plaintiff: 613 Dayton Road, Bryn Mawr, PA 19010
                          1420 Walnut Street, Suite 1108, Philadelphia, PA 19102
    Address of Defendant:_______________________________________________________________________________________
                                                1420 Walnut Street, Suite 1108, Philadelphia, PA 19102
    Place of Accident, Incident or Transaction:_______________________________________________________________________

      RELATED CASE IF ANY:
      Case Number:______________________ Judge:________________________________ Date Terminated____________________
      Civil cases are deemed related when Yes is answered to any of the following questions:
           1.    Is this case related to property included in an earlier numbered suit pending or within one year                                   Yes             No X
                 previously terminated action in this court?
           2.    Does this case involve the same issue of fact or grow out of the same transaction as a prior suit
                 Pending or within one year previously terminated action in this court?                                                             Yes             No X
           3.    Does this case involve the validity or infringement of a patent already in suit or any earlier
                 Numbered case pending or within one year previously terminated action of this court?                                               Yes             No X
           4.    Is this case a second or successive habeas corpus, social security appeal, or pro se case filed
                 by the same individual?                                                                                                            Yes             No X
      I certify that, to my knowledge, the within case                 is / X is not related to any now pending or within one year previously terminated
      action in this court except as note above.
      DATE: January 3, 2023                      s/Aaron J. Freiwald
                                               ____________________________________                                                  78028
                                                                                                                               ________________________________
                                                      Attorney-at-Law (Must sign above)                                             Attorney I.D. # (if applicable)



      Civil (Place a √ in one category only)

           A.    Federal Question Cases:                                                                    B. Diversity Jurisdiction Cases:

                 1.  Indemnity Contract, Marine Contract, and All Other Contracts)          1. Insurance Contract and Other Contracts
                 2.  FELA                                                                   2. Airplane Personal Injury
                 3.  Jones Act-Personal Injury                                              3. Assault, Defamation
                 4.  Antitrust                                                              4. Marine Personal Injury
                 5.  Wage and Hour Class Action/Collective Action                           5. Motor Vehicle Personal Injury
                 6.  Patent                                                                 6. Other Personal Injury (Please specify):________________
                 7.  Copyright/Trademark                                                    7. Products Liability
                 8.  Employment                                                             8. All Other Diversity Cases: (Please specify)______________
                 9.  Labor-Management Relations                                                _____________________
                 10. Civil Rights
                 11. Habeas Corpus
                 12. Securities Cases
                 13. Social Security Review Cases
                 14. Qui Tam Cases
           X     15. All Other Federal Question Cases. (Please specify):_____________________________
                                                                         18 U.S.C. § 1962




                                                                           ARBITRATION CERTIFICATION
                                                   (The effect of this certification is to remove the case from eligibility for arbitration)

      I, _________________________________, counsel of record or pro se plaintiff, do hereby certify:

                          Pursuant to Local Civil Rule 53.2 § 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action
                          case exceed the sum of $150,000.00 exclusive of interest and costs:

                          Relief other than monetary damages is sought.


      DATE: ____________________________                              ______________________________________                            __________________________________
                                                                      Attorney-at-Law (Sign here if applicable)                                Attorney ID # (if applicable)

      NOTE: A trial de novo will be a jury only if there has been compliance with F.R.C.P. 38.
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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                       CASE MANAGEMENT TRACK DESIGNATION FORM

                   SEAN MURTAUGH       :                                     CIVIL ACTION
                                       :
               v.                      :
                                       :
ROBERT S. GOGGIN, III, ESQUIRE, et al. :                                     NO.
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                                       ( )
(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                             ( )
(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.                 ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                                      ( )
(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                                         ( )
(f) Standard Management – Cases that do not fall into any one of the other tracks.                             (X )


 January 3, 2024                   Aaron J. Freiwald                           Plaintiff
Date                               Attorney-at-law                       Attorney for
   215-875-8000                     215-875-8575                        ajf@freiwaldlaw.com
Telephone                           FAX Number                           E-Mail Address


(Civ. 660) 10/02




                                                                                     American LegalNet, Inc.
                                                                                     www.FormsWorkFlow.com
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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


SEAN MURTAUGH
613 Dayton Road
Bryn Mawr, PA 19010                               NO.

       v.

ROBERT S. GOGGIN, III, ESQUIRE
1420 Walnut Street, Suite 1108
Philadelphia, PA 19102
       and
GOGGIN & DUCKWORTH, P.C.
1420 Walnut Street, Suite 1108
Philadelphia, PA 19102
       and
FORCENO GOGGIN & KELLER, P.C.
1420 Walnut Street, Suite 1108
Philadelphia, PA 19102
       and
KELLER & GOGGIN, P.C.
1420 Walnut Street, Suite 1108
Philadelphia, PA 19102
       and
JORDAN LITIGATION FUNDING, LLC
1601 Sansom Street, Suite 2E
Philadelphia, PA 19103
       and
NORRIS JORDAN
1601 Sansom Street, Suite 2E
Philadelphia, PA 19103


                                         COMPLAINT

I.     INTRODUCTION

       1.      This case arises out of Defendants’ scheme to defraud Plaintiff Sean Murtaugh

out of hundreds of thousands of dollars through unauthorized, deceptive, and predatory litigation

funding agreements. Defendant Robert Goggin, a plaintiff’s attorney in Philadelphia, used Mr.

Murtaugh’s case as collateral to secure cash advances with high interest rates and promised to
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repay this debt out of the proceeds of Mr. Murtaugh’s case. Defendant Goggin took this money

– and Defendant Jordan Litigation Funding willingly provided it – despite knowing that Mr.

Murtaugh had not idea about these agreements, did not consent to the agreement, and never

would have consented to the agreements. Defendants Goggin and Jordan Litigation Funding

hatched this scheme to enrich themselves through exorbitant interest rates at the expense of Mr.

Murtaugh, whose case involved serious and debilitating workplace injuries.

II.    PARTIES

       2.      Plaintiff Sean Murtaugh is an adult citizen of the Commonwealth of Pennsylvania

who resides at 613 Dayton Road, Bryn Mawr, Pennsylvania 19010.

       3.      Defendant Robert S. Goggin, III (“Goggin”) is an attorney licensed to practice

law in the Commonwealth of Pennsylvania who maintains professional offices at 1420 Walnut

Street, Suite 1108, Philadelphia, Pennsylvania 19102. Plaintiff asserts both a professional

liability claim and non-professional liability claims against this defendant.

       4.      Defendant Goggin & Duckworth, P.C. is a law firm that is registered to do

business in Pennsylvania and that has a principal place of business at 1420 Walnut Street, Suite

1108, Philadelphia, Pennsylvania 19102. Plaintiff asserts both a professional liability claim and

non-professional liability claims against this defendant.

       5.      Defendant Forceno Goggin & Keller, P.C., is a law firm that is registered to do

business in Pennsylvania and that has a principal place of business at 1420 Walnut Street, Suite

1108, Philadelphia, Pennsylvania 19102. Plaintiff asserts both a professional liability claim and

non-professional liability claims against this defendant.

       6.      Defendant Keller & Goggin, P.C., is a law firm that is registered to do business in

Pennsylvania and that has a principal place of business at 1420 Walnut Street, Suite 1108,




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Philadelphia, Pennsylvania 19102. Plaintiff asserts both a professional liability claim and non-

professional liability claims against this defendant.

       7.      Defendants Goggin & Duckworth, P.C., Forceno Goggin & Keller, P.C., and

Keller & Goggin, P.C. are corporate entities and/or trade names used by Defendant Goggin as his

law firm, but are, in fact, alter egos, successors, subsidiaries, and/or instrumentalities of each

other. These Defendants are collectively referred to as “the Goggin Firm.”

       8.      At all relevant times, Defendants Goggin and the Goggin Firm provided legal

services to Mr. Murtaugh through their various attorneys, paralegals, and support staff.

       9.      Defendant Goggin Firm is vicariously liable for the fraudulent, negligent, and

unethical services provided to Mr. Murtaugh, by and through its attorneys, paralegals, support

staff, agents, servants, employees, and ostensible agents, including, but not limited to, Defendant

Goggin.

       10.     At all relevant times, Defendant Goggin was an owner, shareholder, partner,

officer, director, employee, agent, and/or ostensible agent of Defendant Goggin Firm.

       11.     At all relevant times, Defendant Goggin was responsible for overseeing the legal

services provided to Mr. Murtaugh while Mr. Murtaugh was a client of Defendant Goggin Firm.

       12.     Defendant Jordan Litigation Funding, LLC is a corporate entity registered to do

business in Pennsylvania with a principal place of business located at 1601 Sansom Street, Suite

2e, Philadelphia, Pennsylvania 19103.

       13.     Defendant William Norris Jordan, Jr. (“Norris Jordan”) is an adult citizen of the

Commonwealth of Pennsylvania who maintains professional offices at 1601 Sansom Street,

Suite 2e, Philadelphia, Pennsylvania 19103.




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       14.     At all relevant times, Defendant Norris Jordan was an owner, shareholder,

member, partner, officer, director, employee, agent, and/or ostensible agent of Defendant Jordan

Litigation Funding.

III.   JURISDICTION

       15.     This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331, also

known as federal question jurisdiction.

       16.     Plaintiff has brought this action under 18 U.S.C. § 1962(C) and 18 U.S.C. §

1962(D).

       17.     Further, this Court has supplemental jurisdiction over the state common-law

claims, pursuant to 28 U.S.C. § 1367.

       18.     Venue is proper, pursuant to 28 U.S.C. § 1391(b), because the events or omissions

giving raise to Plaintiff’s statutory and common-law claims occurred in this District.

IV.    FACTS

       A.      Mr. Murtaugh suffered a workplace injury while working at AMTRAK

       19.     Beginning around 2009, Plaintiff Mr. Murtaugh began working for Amtrak as a

Lineman.

       20.     Mr. Murtaugh was a union employee, part of the Brotherhood of Maintenance of

Ways Employees (BMWE).

       21.     On January 18, 2018, Mr. Murtaugh was installing a feeder arm on a pole with a

T-Mobile antenna atop the pole near Paoli station in Paoli, Pennsylvania.

       22.     The T-Mobile antenna contained active, high levels of RF and EMF energy,

which was not deactivated before Mr. Murtaugh began working on the pole.




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        23.    While Mr. Murtaugh, and his co-worker Steve Price, were in the aerial man

basket in the proximity of the T-Mobile antenna, he began to experience disorientation, cognitive

loss, dizziness, dry heaving, nausea, and other similar neurological symptoms.

        24.    Mr. Murtaugh had a titanium medical implant in his head and neck region, which

Amtrak was aware of, and which acted as an amplifier of RF and EMF energy.

        25.    Mr. Murtaugh went to Paoli Hospital, where he was diagnosed in the emergency

department with only dehydration. He was discharged that day.

        26.    When the tinnitus and headaches did not improve after a few days, Mr. Murtaugh

was admitted to Jefferson University Hospital for night from January 26 to 27, 2018. While at

Jefferson, he was diagnosed with severe tinnitus.

        27.    Mr. Murtaugh required evaluations by a neurologist, Dr. Christopher J. Reid. Dr.

Reid ordered a brain MRI on January 23, 2018 that did not reveal significant findings.

        28.    Mr. Murtaugh was then evaluated by an otolaryngologist (ENT), Dr. Brian

Broker. Dr. Broker treated Mr. Murtaugh for tinnitus, treatment that included multiple injections

into the middle ear space with Decadron.

        29.    Mr. Murtaugh also treated with an audiologist, Karen K. Real, M.A., for about

two years after the incident. Ms. Real’s treatment included fitting Mr. Murtaugh for hearing

aids.

        30.    The ongoing symptoms affected Mr. Murtaugh’s ability to work, causing him to

miss time from work from the accident until about July 2018. Mr. Murtaugh did attempt to go

back to work around July 2018, but went on disability leave again around December 2018

because it was too difficult to perform his union lineman job duties because of the continued

symptoms from tinnitus and from headaches.




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        31.    Mr. Murtaugh again attempted to work from about April 2019 to August 2019,

but again found his Amtrak job too difficult due to his ongoing symptoms.

        32.    In addition to the treatment for his tinnitus, Mr. Murtaugh required treatment with

a psychiatrist and psychologist for depression caused by the accident, the continued symptoms,

and the inability to work.

        33.    The above is merely a summary of the treatment Mr. Murtaugh received and he

continues to suffer symptoms from his workplace injury up to the present.

        B.     Mr. Murtaugh hired Defendant Goggin and his firm to prosecute his claim
               against AMTRAK

        34.    Just a few days after the incident, Mr. Murtaugh hired Defendant Goggin and his

firm.

        35.    Mr. Murtaugh sought Defendant Goggin’s representation because Defendant

Goggin has a close relationship with the BMWE.

        36.    Defendant Goggin has often attended union events to advertise his services for

Federal Employers’ Liability Act (FELA) cases and other personal injury cases.

        37.    FELA is a federal statute that allows federal employees to bring claims against

their employer for workplace injuries, essentially functioning as the worker’s compensation

statute for federal employees.

        38.    Not only did Mr. Murtaugh hire Defendant Goggin, but so did Mr. Murtaugh’s

co-worker, Steve Price.

        39.    The contingent fee agreement between Mr. Murtaugh and Defendant Goggin is

undated, however, Defendant Goggin sent Mr. Murtaugh a letter on February 13, 2018

confirming his and his firm’s representation of Mr. Murtaugh.




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          40.   The Contingent Fee Agreement is silent on whether Defendant Goggin has the

right to take out litigation funding to cover case costs and then pass any accumulated interest

onto Mr. Murtaugh.

          41.   The Contingent Fee Agreement is also silent on how the repayment of liens

asserted by Amtrak would be repaid and whether that number would be calculated before or after

attorney fees paid.

          42.   The Contingent Fee Agreement is also silent on Defendant Goggin’s concurrent

representation of Steve Price. Defendant Goggin never explained that the concurrent

representation may cause a conflict of interest between the two plaintiffs and Defendant Goggin

did not obtain written informed consent for the concurrent representation.

          43.   Defendant Goggin never explained the conflict that may occur if one of the two

plaintiffs wanted to accept a settlement offer but the other plaintiff did not.

          44.   On September 17, 2018, Defendant Goggin filed a single Complaint in the Court

of Common Pleas of Philadelphia County on behalf of both Mr. Murtaugh and Mr. Price. The

Complaint was signed by Defendant Goggin’s then-associate, now-partner James Duckworth.

          C.    Throughout the litigation Mr. Murtaugh made repeated promises to Mr.
                Murtaugh about a life-changing settlement amount, inducing Mr. Murtaugh
                to refrain from returning to work and inducing Mr. Murtaugh to take out a
                loan with Defendant Jordan Litigation Funding

          45.   Defendant Goggin told Mr. Murtaugh that his case was worth a life-changing

amount of money – an amount so high that Mr. Murtaugh would never have to work again.

          46.   Indeed, throughout the litigation, Defendant Goggin encouraged Mr. Murtaugh

not to return to work, to create the appearance that Mr. Murtaugh’s economic damages were

rising.




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        47.     On December 18, 2019, Mr. Murtaugh received a letter from Amtrak stating that

he was medically disqualified from his position as a Lineman CDL but was not terminated from

his employment.

        48.     The letter stated that Mr. Murtaugh could (a) submit medical documentation that

his medical condition improved; (b) apply for sickness benefits or permanent disability through

the RRB; (c) seek alternative positions within Amtrak; or (d) apply through an accommodation

through Amtrak’s ADA panel.

        49.     This letter was received after Mr. Murtaugh made multiple attempts to return to

work but was unable to consistently perform his job because of continued headaches and ringing

in his ears.

        50.     Because Defendant Goggin expressed such confidence in the case, he advised Mr.

Murtaugh to do nothing in response to the letter and to stay out of work so that his lawsuit

damages could accumulate.

        51.     Mr. Murtaugh then received disability benefits from his Amtrak job until he

reached the maximum benefit sometime in mid-to-late 2020.

        52.     While Defendant Goggin was promising Mr. Murtaugh a fortune, in the

meantime, Mr. Murtaugh was without employment and lost his health and dental benefits.

        53.     Upon advising Mr. Murtaugh not to seek any alternate employment, Defendant

Goggin failed to advise Mr. Murtaugh on how to seek any other income source, such as social

security disability benefits.

        54.     Instead, knowing that Mr. Murtaugh needed money and having recommended that

Mr. Murtaugh not return to work, Defendant Goggin recommended that Mr. Murtaugh enter a

litigation funding agreement with Defendant Jordan Litigation Funding.




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       55.        On Friday November 27, 2020, Mr. Murtaugh sought clarification from

Defendant Goggin about the litigation funding agreement, texting Mr. Goggin, “Bob hope you

had a good holiday[.] Are you working today[?] Want to discuss the loan process and other

details thanks.

       56.        Defendant Goggin replied about three hours later, at 11:52 am and wrote, “Sean,

my next sober breath is on Monday. Talk to you then!”

       57.        On or about December 18, 2020, Mr. Murtaugh signed a Litigation Funding

Agreement with Defendant Jordan Litigation Funding.

       58.        In the December 18, 2020 agreement, Defendant Jordan Litigation Funding

agreed to pay Mr. Murtaugh $5,510.00 per month for six consecutive months, for a total of

$33,060.

       59.        The December 18, 2020 agreement included a Schedule of Payment that specified

the amount due from two years beyond signing, but did not contemplate an accumulation of

interest beyond the two-year period. The agreement displayed interest accumulating every three

months and ending at the two-year mark.

       60.        The only repayment schedule included in the December 18, 2020 agreement was

limited to a two-year repayment amount for $9,412.06, as stated in the following chart:




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       61.     The Agreement did not specify if this was the total interest to be repaid on all six

payments, or the repayment amount for just one single payment.

       62.     The December 18, 2020 agreement also indicated that a material reason for

Defendant Jordan Litigation Funding entering the agreement was its confidence in Defendant

Goggin.

       63.     In small fine print on the last page of the agreement, sentence #13 of the

Miscellaneous Paragraph, Jordan Litigation Funding indicated that it was charging a 28% rate

but reduced the rate to 25% because Mr. Murtaugh’s attorney was Defendant Goggin.

       64.     The Agreement specified, “Client is specifically aware that this contract is made

on the basis of not only the facts and law in this matter but also upon Jordan Litigation Funding’s

confidence in current counsel.”

       65.     If not for Defendant Goggin’s advice that Mr. Murtaugh not seek work, Mr.

Murtaugh would not have required any litigation funding agreement.

       66.     Almost immediately, there were questionable circumstances between Mr.

Murtaugh and Jordan Litigation Funding.




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       67.     The first check from Jordan Litigation Funding took almost a week and half to

clear into Mr. Murtaugh’s bank account.

       68.     The next month, even though Jordan Litigation Funding was supposed to provide

the funding via direct deposit, it instead paid Mr. Murtaugh via certified check.

       69.     The certified check was not provided directly to Mr. Murtaugh; it had to go

through Defendant Goggin as an intermediary.

       70.     As the case went on and Mr. Murtaugh continued to follow Defendant Goggin’s

advice to not return to work, Mr. Murtaugh’s personal life was being harmed.

       71.     On February 16, 2021, Mr. Murtaugh texted Defendant Goggin and asked, “Any

word on dental [insurance] for the kids?”

       72.     Defendant Goggin did not respond in writing to this text.

       73.     On March 9, 2021 at 12:15pm, Mr. Murtaugh texted Defendant Goggin and

asked, “Bob I need to know about insurance?”

       74.     Defendant Goggin replied, “Calling again now,” but did not otherwise answer Mr.

Murtaugh’s question.

       75.     Later that day, at 4:18pm, Mr. Murtaugh texted Defendant Goggin again and

stated, “Bob this isn’t working! We need to discuss tomorrow how we are going to go forward.

My family comes before everyone and everything and your (sic) just not getting the job done! So

we need to talk tomorrow.”

       76.     Defendant Goggin responded simply, “Very good.”

       77.     The next day, March 10, 2021, Mr. Murtaugh and Defendant Goggin texted again

and made plans to meet on March 11, 2021 at 4pm at a diner in Wayne, PA.




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        78.    Mr. Murtaugh asked Defendant Goggin to bring with him a copy of Mr.

Murtaugh’s file.

        79.    Defendant Goggin refused to provide a complete copy of the file, stating that it

was too large to copy by tomorrow, and stated he would bring the pertinent portions of the file.

        80.    During the March 11, 2021 meeting, Defendant Goggin advised Mr. Murtaugh

that it would cost Mr. Murtaugh $1,500.00 to receive a copy of his file.

        81.    Also during the meeting, Mr. Murtaugh expressed to Defendant Goggin that Mr.

Murtaugh was severely struggling financially and that he would need to go back to work.

        82.    The morning after their meeting, on March 12, 2021 at 10:44am, Defendant

Goggin texted Mr. Murtaugh, “Don’t go back to AMTRAK until after you deposition. We don’t

want to answer their questions on it. After the dep it’s too late for them!”

        83.    In April 2021, Mr. Murtaugh gave a deposition. Mr. Murtaugh does not have a

copy of the transcript for his deposition despite repeated requests to Defendant Goggin for a

copy, both directly and through undersigned counsel.

        84.    On September 24, 2021 at 8:52am, Mr. Murtaugh again expressed concern to

Defendant Goggin, sending him a text message stating, “As of September 1st myself and my

kids no longer have health benefits.”

        85.    Defendant Goggin did not respond in writing to this text.

        86.    Mr. Murtaugh told Defendant Goggin that he would be seeking employment with

PECO.

        87.    Defendant Goggin encouraged Mr. Murtaugh to not seek the employment,

because Amtrak would find out about the employment through certain competency tests and

Defendant Goggin believed it would hurt the case if Amtrak found out about any employment.




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       88.     Yet, desperate for income and health benefits, Mr. Murtaugh started employment

with PECO in November 2021.

       89.     On March 28, 2022, Mr. Murtaugh texted Defendant Goggin to ask if there was

any news on his case. Defendant Goggin responded by simply stating “Zero.” Mr. Murtaugh

then responded, expressing dismay that “All these loans are going to max out on interest.”

       90.     Mr. Murtaugh’s text reveals his belief that the interest on the litigation funding

payments he received from Defendant Jordan Litigation Funding were limited to collecting for

only two years based on the Disclosure Statement included in the agreement.

       91.     In the summer and fall of 2022, Amtrak began conducting video surveillance on

Mr. Murtaugh and eventually served a subpoena on Mr. Murtaugh’s new employer PECO.

       92.     Defendant Goggin had been encouraging Mr. Murtaugh to keep the fact of his

employment from PECO a secret.

       93.     But based on Defendant Goggin’s encouragement of secrecy, Mr. Murtaugh

became concerned about the surveillance and subpoena, texting Defendant Goggin on September

27, 2022 that “If this is going to cost me my job we need to fix that.”

       94.     Several times in October 2022, Mr. Murtaugh reached out to Defendant Goggin

by text and calls, but Defendant Goggin did not make himself available to speak with Mr.

Murtaugh.

       95.     On November 16, 2022, Mr. Murtaugh texted Defendant Goggin to express his

dissatisfaction with how the case was going, stating “Can’t tell you how [un]happy I am with the

performance of this lawsuit! All the bullshit is finally catching up there’s a chance I could lose

my job! 5 fucking years Bob 5 fucking years.”




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        96.     Defendant Goggin obtained reports from nine experts for Mr. Murtaugh’s case,

including:

                a.      Rosette C. Biester, Ph.D. (Neuropsychology), dated 2/11/2020;

                b.      Burton Weiss, M.D. (Psychiatry), dated 2/26/2021;

                c.      Neil K. Shirk (Engineering), dated 3/26/2021 (superseding the prior expert
                        report dated October 7, 2019);

                d.      Huma Haider, M.D., Director of National Brain Injury Institute, dated
                        4/12/2021;

                e.      Guy W. Fried, M.D. (Physical Medicine & Rehabilitation), dated
                        5/28/2021;

                f.      Shahin J. Korangy, M.D., Eliterad Radiology Group/National Brain Injury
                        Institute (Neuroradiology), dated 6/23/2021;

                g.      Rosette C. Biester, Ph.D. (Neuropsychology), dated 7/29/2021
                        (supplemental report);

                h.      Burton Weiss, M.D. (Psychiatry), dated 7/30/2021 (supplemental report);

                i.      Guy W. Fried, M.D. (Physical Medicine & Rehabilitation), dated
                        8/2/2021;

                j.      Alex Karras, OTR, CRC, CCM, MSCC, CLCP (Life Care Planning),
                        dated 8/2/2021;

                k.      Terence H. Walsh, BA, MSW, CRC (Vocational), dated 8/2/2021; and

                l.      Andrew C. Verzilli, M.B.A. (Economist), dated 8/2/2021.

        97.     Meanwhile, Amtrak defended the case with the expert reports of Daniel Feinberg,

M.D. (Neurology), Matthew Nagorsky, M.D. (Otolaryngology), and Kenneth Foster, Ph.D., P.E.

(Biological Engineering).

        98.     T-Mobile also produced the expert report of physicist Stephen Sutkowski to

dispute the liability aspect of the case.




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       99.     Defendant Goggin indicated in the pre-trial memo that he would present

$2,570,408.40 in economic damages at Mr. Murtaugh’s trial.

       D.      Defendant Goggin improperly induced Mr. Murtaugh to settle his case

       100.    Entering 2023, the case had a trial date set for March 6, 2023.

       101.    Ahead of trial, the Philadelphia Court of Common Pleas served an Order For

Mandatory Settlement Conference, scheduling a settlement conference for January 31, 2023 at

10:00am before the Honorable Marlene Lachman.

       102.    The Order specifically directs, “All persons who have the authority to negotiate

and settle the case shall be available at the Mandatory Settlement Conference. These persons

include the parties, an insurance or similar representative, and anyone who is needed to ratify a

settlement agreement.”

       103.    The Mandatory Settlement Conference was attended by Defendant Goggin, but

Mr. Murtaugh was not present himself.

       104.    Mr. Goggin did not invite Mr. Murtaugh to attend the Mandatory Settlement

Conference.

       105.    Before the Mandatory Settlement Conference, Plaintiff’s former counsel Mr.

Goggin conveyed a $10 million settlement demand purportedly on Mr. Murtaugh’s behalf.

       106.    During the Mandatory Settlement Conference, counsel for Amtrak and T-Mobile

made a settlement offer but that offer was rejected by Mr. Goggin without consulting Mr.

Murtaugh.

       107.    On January 31, 2023 at 3:09 p.m., Defendant Goggin texted both Mr. Murtaugh

and Mr. Price, stating “They quit at $215k. I reject it. The discussions will continue.




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          108.   Shortly after, at 3:37pm, Mr. Murtaugh texted Defendant Goggin, “I guess it’s

like you said in the beginning the real number will come at the door of the courthouse before

trial.”

          109.   Mr. Murtaugh and Defendant Goggin did not speak again until February 8, 2023.

          110.   During this call, Defendant Goggin informed Mr. Murtaugh that Amtrak had

made a settlement offer of $475,000 and that this would be the highest number Amtrak would

settle for.

          111.   Even though this settlement amount was far less that Defendant Goggin had

advised the case would settle for – Defendant Goggin had promised Mr. Murtaugh a life-

changing amount of money such that Mr. Murtaugh would not have to work again – Defendant

Goggin now recommended the settlement.

          112.   During this call, Mr. Murtaugh asked Defendant Goggin what the case costs and

fees were.

          113.   Defendant Goggin was unable and unwilling to tell Mr. Murtaugh this

information during the phone call.

          114.   Mr. Murtaugh replied that he would need to think about the settlement offer.

          115.   Defendant Goggin did not make any further outreach to Mr. Murtaugh or provide

an update with the outstanding case costs and fees until February 21, 2023 when he left Mr.

Murtaugh a voicemail.

          116.   Defendant Goggin and Mr. Murtaugh spoke on February 22, 2023 for 4 minutes

and on February 24, 2023 at 3:42 p.m. for 6 minutes.

          117.   During both calls, Defendant Goggin reiterated that the $475,000 offer from

Amtrak was the most amount of money to settle the case and was unwilling to provide Mr.




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Murtaugh with the outstanding case costs and fees so that Mr. Murtaugh could understand the

net-take home amount he would receive.

         118.    Rather, Defendant Goggin intentionally withheld this information and stated he

could not obtain it quickly.

         119.    Defendant Goggin added to the time pressure of this situation by telling Mr.

Murtaugh that if he did not accept the settlement on February 24th, the settlement offer would be

revoked. There is no documented evidence that Amtrak had actually threatened to withdraw the

settlement offer if it was not accepted on February 24th and it is very unlikely and against

common practice for a defendant to withdraw the settlement offer within that timeline before

trial.

         120.    Defendant Goggin also made it apparent that he was not prepared for trial,

informing Mr. Murtaugh that none of the experts were scheduled to testify, even though trial was

only 10 days away.

         121.    The February 24, 2023 call ended with Mr. Murtaugh posing questions about the

settlement to Defendant Goggin but not agreeing to the settlement.

         122.    Despite Mr. Murtaugh not authorizing the settlement, Defendant Goggin

communicated acceptance of the settlement on his behalf to Amtrak’s counsel after the February

24, 2023 call.

         123.    On February 24, 2023 at 6:12 p.m., Amtrak’s counsel emailed Mr. Goggin:

                 “Bob,

                 This will confirm the settlement of this matter for [redacted] per
                 plaintiff, with Amtrak contributing [redacted] towards each
                 settlement and T-Mobile contributing $[redacted] per plaintiff.




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               As discussed the settlement includes a confidentiality agreement
               and letter agreement not to return to work at Amtrak. As always,
               any and all liens will come out of the settlement amounts.

               Thanks and have a great weekend.

               John”

       124.    Defendant Goggin did not respond to counsel for Amtrak’s email;

       125.    Mr. Murtaugh and Defendant Goggin spoke again the next day, Saturday

February 25, 2023. During this conversation, Mr. Murtaugh asked Defendant Goggin to explain

how the case suddenly went from a $10 million case to now being faced with a $475,000

settlement.

       126.    During the February 25, 2023 conversation, Mr. Murtaugh still did not authorize

the settlement and was not aware that Defendant Goggin had done so on his behalf.

       127.    Then, on Monday February 27, 2023 at 11:22 a.m., Mr. Murtaugh and Defendant

Goggin spoke again for about six minutes.

       128.    During this call, while Mr. Murtaugh was facing a trial only one week away, and

with it being clear that Defendant Goggin was not prepared for trial, and with Defendant Goggin

having communicated that Amtrak would withdraw the settlement offer if he did not accept, Mr.

Murtaugh was left with no choice but to accept the settlement offered by Amtrak.

       129.    At the time he accepted the settlement offer, Mr. Murtaugh still did not have all

the necessary information to properly assess the offer, including a rough estimate of his net take

home number.

       130.    Further, Mr. Murtaugh did not know on February 27, 2023 that Defendant Goggin

had already accepted the settlement on his behalf and without his permission.




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       131.   Then, within an hour after Mr. Murtaugh for the first time communicated

acceptance of the settlement, on February 27, 2023 at 12:17 p.m., Defendant Goggin, filed a

letter with the Philadelphia Court of Common Pleas stating:

              “Mr. Price:

              Please be advised that the Steven Price and Sean Murtaugh v.
              National Railroad Passenger Corporation and T-Mobile Northeast
              LLC matter, scheduled for Jury Selection of March 2, 2023, and
              Trial on March 6, 2023, at 9:00 am and pending Motions in Limine
              has settled and therefore will no longer need to go forward.

              If you have any questions or concerns in this regard, please do not
              hesitate to contact the office.”

       132.   Aside from the February 27, 2023 letter, there are no other writings in which

Defendant Goggin, comments on or memorializing the terms of the alleged settlement between

Mr. Murtaugh, Amtrak and T-Mobile.

       E.     Only after settling his case, Mr. Murtaugh learned that Defendant Goggin
              took out additional funding agreements with Defendant Jordan Litigation
              Funding – purportedly in Mr. Murtaugh’s name, but without his knowledge
              or consent

       133.   It took several months for Defendant Goggin to provide Mr. Murtaugh with an

accounting for his case, despite multiple requests by Mr. Murtaugh.

       134.   On March 14, 2023, Mr. Murtaugh emailed Defendant Goggin’s assistant, Sandy

Andujar, and asked, “I was wondering if you had any information regarding the finalization of

my case.”

       135.   On March 15, 2023 at 2:55pm, Ms. Andujar wrote back and provided the costs

below in Mr. Murtaugh’s case:

              “Personal Money Borrowed from Jordan Litigation Funding -
              $56,825.26
              Cost - $130,567.18 (experts, depositions, medical records, etc.)
              Keller & Goggin Fee - $118,750. (25%) of settlement)



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                   RRB - $34,313.88
                   If you have any questions pertaining to any of these amounts
                   please reach out to Bob.”

        136.       Ms. Andujar’s email is false and misleading because the costs in Mr. Murtaugh’s

case were not $130,567.18.

        137.       As became clear to Mr. Murtaugh only after further communication, the

$130,567.18 number only was based on Defendant Goggin having taken out additional litigation

funding with Defendant Jordan Litigation, without Mr. Murtaugh’s consent or knowledge, and

was attempting to charge the interest for this funding against Mr. Murtaugh.

        138.       Mr. Andujar’s March 15, 2023 email, sent on behalf of Defendants Goggin and

Goggin Firm, attempts to conceal this fact from Mr. Murtaugh by including all interest in one

line as “costs.”

        139.       Mr. Murtaugh replied about 20 minutes later and asked for an itemized list of the

costs for his case, as well as a separate email asking if there was a final take-home number.

        140.       Ms. Andujar replied right away promising to get Mr. Murtaugh an itemized list

for the costs. She also indicated that they hoped to have the settlement agreement soon.

        141.       A week later, on March 23, 2023, not having heard anything from Defendant

Goggin’s office, Mr. Murtaugh wrote to Ms. Andujar again asking if there was “any luck?” on

getting the settlement agreements.

        142.       The same day, at 1:19pm, Mr. Murtaugh emailed Ms. Andujar and asked, “Hi

Sandi, not sure if you received my email 2 weeks ago. But was wondering if you could send me

that itemized list and final bring home number.”

        143.       On March 28, 2023, Defendant Goggin sent Mr. Murtaugh a draft of the

settlement release proposed by Amtrak and T-Mobile.




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       144.    More than a month after his request for an accounting of all costs, on April 18,

2023, Ms. Andujar emailed Mr. Murtaugh, with a copy to Defendant Goggin, a list purporting to

be all the costs and fees in Mr. Murtaugh’s case.

       145.    Ms. Andujar’s April 18, 2023 email included the following items:

               a.     “Personal Money Borrowed - $33,060. And current amount due is
                      $59,450.44 – this amount is subject to change because it accrues interest
                      daily.”

               b.     “Keller & Goggin 25% Fee in the case $118,750.”

               c.     “Cost we paid in your case for Experts, Medical Bills, Depositions, etc. is
                      $81,246.47. This is not your total payback because almost all of this
                      money was borrowed and is accruing daily and the amount changes. Date
                      and Amount Borrowed and amount due as of today. ($136,647.81 is your
                      total due on this money)”

               d.     “RRB and Supplemental - $31,332.65”

       146.    Ms. Andujar’s April 18, 2023 email then detailed six litigation funding payments

that Defendant Goggin had unilaterally received without Mr. Murtaugh’s consent or knowledge,

conveying the following information:

                      Date           Advance Amount        Amount Due

                      7/6/2020       $2,403.73             $6,645.30

                      2/18/2020      $1,500.00             $3,502.15

                      4/16/2021      $35,000.00            $69,228.68

                      7/16/2021      $17,910.00            $33,054.01

                      10/31/2021     $13,000.00            $22,346.52

                      2/18/2022      $1,155.00             $1,871.15

                      Total          $70,968.73            $136,647.81


       147.    There are several problems with and falsehoods in Ms. Andujar’s email.


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         148.   First, while Mr. Murtaugh does not recognize the litigation funding agreement he

signed with Defendant Jordan Litigation Funding as enforceable, even if it were, Mr. Murtaugh

never agreed to pay interest that accrues daily or interest beyond two years.

         149.   Second, Mr. Murtaugh had no idea that Mr. Goggin had received litigation

funding to cover case costs and Mr. Murtaugh never agreed to pay interest on any of those case

costs.

         150.   Third, because the amounts listed as owed to “RRB and Supplemental” – the

Railroad Retirement Board and Supplemental Sickness Benefits Lien – are taken directly from

the settlement as a matter of law, Mr. Murtaugh never agreed to have Defendant Goggin take his

fee after accounting for these amounts.

         151.   Mr. Murtaugh replied to Ms. Andujar’s email two days later, on April 20, 2023,

with confusion and anger:

                Hi Sandi

                I am Very confused was wondering if you could help me
                understand.

                So I have interest ACCRUING daily. It took over a month to get
                this info so I have been getting charged for that ?

                Also confused on why all this money was borrowed and
                ACCRUING interest when I wasn’t aware of that ?

                Also I still haven’t been told my final number that I am walking
                with?

                I understand the personal money that I borrowed but could you tell
                me what the [$70,000] dollar loan from Jordan Lending was used
                for in detail?

                Also I still haven’t received those contracts with the bills or Dr
                Beaster




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               I’ve been asking these questions to Bob for years with no response
               just the same old run around.

               Hope you understand where I am coming from this whole
               experience has been absolutely horrible sorry your (sic) in the
               middle

               Because all the forms and emails we get says (sic) contact Bob or
               the office. I haven’t heard from Bob in some time now !!

               So Again I will not sign any release unless there is a complete and
               exact accounting of every expense and cost with complete
               documentation from providers, including any fees paid to you as
               well as an EXACT amount I am to receive.


       152.    Mr. Murtaugh’s April 20, 2023 email confirms that he had no idea Mr. Murtaugh

took out litigation funding to cover case costs and that he did not agreed to pay daily accruing

interest in his agreement with Jordan Litigation Funding.

       153.    A week passed and Mr. Murtaugh had still not heard from Defendant Goggin.

Mr. Murtaugh sent a letter to Defendant Goggin on April 27, 2023 asking again for a detailed

report of all costs, fees, and expenses with receipts; a complete copy of his file; and a copy of all

agreements with Jordan Litigation Funding.

       154.    Ms. Andujar replied on May 5, 2023, and stated “Good morning, I will have the

rest of your document and information to you later today. I apologize for the delayed response.”

       155.    Ms. Andujar’s response was false and she did not provide any more information

until May 10, 2023.

       156.    On May 10, 2023, Ms. Andujar emailed Mr. Murtaugh, with a copy to Defendant

Goggin, certain invoices and a recap letter.

       157.    The recap letter asserted total costs of $209,324.92, with a line item of $77,278.77

for expert costs and $65,679.08 for “fee for advanced costs.”




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       158.    The “fee for advance costs” represents the amount of interest on the litigation

funding payments Defendant Goggin took out in Mr. Murtaugh’s case, without Mr. Murtaugh’s

knowledge or consent.

       159.    Despite claiming to be providing all relevant documents, Ms. Andujar and

Defendant Goggin’s office did not send the litigation funding agreements between Defendants

Goggin and Jordan Litigation Funding.

       160.    Mr. Murtaugh responded the next day, asking again for all of the litigation

funding documents and expressing confusion over the interest claimed, writing:

               Hi Sandy/Bob
               Could you please send me all the paper work on “Cost Borrowed”
               portion of the bill ? Were there loans [t]aken out for that ? Also the
               personal money borrowed on the contract signed for the interest
               chart it only has 2 years posted on if paid on or between last date
               being $9,412.06 09/19/2022-12/18/2022 for a total of interest on
               loan. Which would bring total amount on loan and interest to
               $42,472.06 but on your paperwork it says $59,450.44 ? Thanks!

       161.    Mr. Murtaugh’s email shows that he believed there could only be a maximum

interest of $9,412.06 for the litigation funding he had taken out with Jordan Litigation Funding.

       162.    Defendant Goggin did not respond to Mr. Murtaugh’s email asking for documents

relating to the “Cost Borrowed” section of the recap letter, so Mr. Murtaugh had to follow up

again on May 24, 2023.

       163.    Ms. Andujar responded on May 25, 2023 asking for clarification as to what Mr.

Murtaugh was requesting.

       164.    Mr. Murtaugh responded, stating “Clearly they are loans that I knew nothing

about with interest so if I could have all the paper work on them plus the interest rate they were

agreed to. Also Sandi again if I could get a complete copy of my file I would appreciate it.”




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       165.      On May 30, 2023, Defendant Goggin mailed Mr. Murtaugh a thumb drive

purporting to contain Mr. Murtaugh’s file.

       166.      The thumb drive was noticeably missing several categories of documents,

including any of the litigation funding agreements with Defendant Jordan Litigation Funding and

any communications between Defendant Goggin and Defendant Jordan Litigation Funding.

       167.      On June 8, 2023, Mr. Murtaugh emailed Ms. Andujar and stated, “Hi Sandy,

Thanks for sending the thumb drive of my file. I wasn’t able to find those loans I was talking

about form last email. Can you point me in the right direction? Thanks Sean.”

       168.      Ms. Andujar replied about an hour later and finally provided the agreements

between Defendant Goggin and Defendant Jordan Litigation Funding.

       169.      After months of asking for a full accounting on his case and Defendant Goggin’s

repeated attempts to hide the truth, Mr. Murtaugh finally learned about the many secret

agreements between Defendants Goggin and Jordan Litigation Funding.

       170.      Defendant Goggin provided Mr. Murtaugh with five agreements between Goggin

and Defendant Jordan Litigation Funding for providing Defendant Goggin with money to pay for

case expenses:

                 a.     July 7, 2020: $2,403.73

                 b.     February 19, 2021: $1,500.00

                 c.     April 17, 2021: $35,000.00

                 d.     July 17, 2021: $17,910.00

                 e.     October 14, 2021: $13,000.00

       171.      Absent from the documents provided by Defendant Goggin was the agreement

from February 18, 2022 for $1,155.00 referenced in earlier emails by Defendant Goggin’s office.




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       172.    The July 7, 2020 agreement contained an electronic signature for Mr. Murtaugh,

however none of the other agreements contained any form of signature by Mr. Murtaugh.

       173.    In total, Defendant Goggin received $70,968.73 in litigation funding from

Defendant Jordan Litigation Funding, which was collateralized against Mr. Murtaugh’s case.

       174.    Defendant Jordan Litigation Funding agreed to provide this funding despite

knowing that Mr. Murtaugh was unaware of and did not agree to the funding.

       175.    At no point did Defendant Jordan Litigation Funding attempting to contact Mr.

Murtaugh about these funding agreements, as promised on its website.

       176.    These litigation funding payments were then used, at least in part, to pay for Mr.

Goggin’s extensive use of expert witnesses.

       177.    But Defendant Goggin then tried to recoup from Mr. Murtaugh both the cost of

the expert witnesses and the interest on the unauthorized litigation funding agreements.

       178.    At no time, either in the written fee agreement or at any other point, was Mr.

Murtaugh informed for he would be responsible for interest accumulating on funding agreements

taken out solely by Defendant Goggin.

       179.    On August 24, 2023 Mr. Murtaugh terminated Defendant Goggin as his counsel.

       180.    Mr. Murtaugh’s new counsel wrote to Defendant Goggin seeking to receive a full

and complete copy of Mr. Murtaugh’s file, including all communications between Defendants

Goggin and Jordan Litigation Funding relating to Mr. Murtaugh’s case.

       181.    Defendant Goggin ignored this request.

       182.    On September 20, 2023, Amtrak filed a motion to enforce the settlement.




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       183.    Mr. Murtaugh’s new counsel filed a response stating that there was insufficient

information to respond to the motion because Defendant Goggin had not provided Mr.

Murtaugh’s new counsel with a complete copy of the file.

       184.    On November 8, 2023, the Court of Common Pleas held a hearing on Amtrak’s

Motion to Enforce.

       185.    The Honorable Judge Denis Cohen suggested the parties work to resolve the

pending motion and finalize the settlement agreement in a manner to not waive any rights Mr.

Murtaugh has against Defendant Goggin.

       186.    Defendant Goggin also testified at the November 8, 2023 hearing, during which

he gave false and misleading testimony to the Court, stating that Mr. Murtaugh had taken out

multiple litigation loans and that the settlement had been reached on the Friday before trial.

       187.    In fact, it was Defendant Goggin, not Mr. Murtaugh who took out multiple

litigation funding agreements and the settlement was reached more than a week before trial was

scheduled to start.

       188.    Following the hearing, Mr. Murtaugh’s new counsel finalized the settlement

agreement with Amtrak’s counsel, at Judge Cohen’s direction. Yet nothing in that agreement

negates the fact that Defendant Goggin communicated Mr. Murtaugh’s acceptance of the

settlement without having obtained Mr. Murtaugh’s informed consent to settle and after having

fraudulently induced Mr. Murtaugh to settle.




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       F.      Defendant Goggin and Jordan Litigation Funding worked together to enrich
               themselves at the expense of Mr. Murtaugh – and likely at the expense of
               other litigants

       189.    Defendants Goggin and Jordan Litigation Funding hatched a scheme to enrich

themselves and to minimize their own risk at the expense of Mr. Murtaugh.

       190.    Defendants Goggin and Jordan Litigation Funding entered secret agreements to

charge interest payments against Mr. Murtaugh without Mr. Murtaugh’s knowledge or consent.

       191.    In so doing, Defendants Goggin and Jordan Litigation Funding placed their own

interest in recouping Jordan Litigation Funding’s investment and limiting Goggin’s risk over

honoring Mr. Murtaugh’s interest in pursuing his case at trial.

       192.    The scheme worked as follows:

               a.     Defendant Goggin convinced Mr. Murtaugh to not return to work so that
                      Mr. Murtaugh would require litigation funding.

               b.     Defendant Goggin convinced Mr. Murtaugh to get litigation funding from
                      Defendant Jordan Litigation Funding and Jordan Litigation Funding gave
                      Mr. Murtaugh a “preferred rate” for working with Defendant Goggin.

               c.     Defendant Goggin then took additional funding from Defendant Jordan
                      Litigation Funding that was secretly leveraged against Mr. Murtaugh’s
                      case.

               d.     Defendant Goggin and Jordan Litigation Funding agreed to make Mr.
                      Murtaugh personally responsible for paying outrageous interest rates as
                      high as 25% on the funding that Defendant Goggin secretly acquired.

               e.     Defendant Goggin, as Mr. Murtaugh’s lawyer working on a contingent fee
                      basis, was obligated to fund Mr. Murtaugh’s case and bear the risk
                      involved with brining the case to trial.

               f.     Seeking to avoid the risk of going to trial, to protect his attorney fee, and
                      to protect Defendant Jordan Litigation Funding’s interest in the case,
                      Defendant Goggin unduly pressured and fraudulently induced Mr.
                      Murtaugh to settle his case.

               g.     Mr. Murtaugh was left with a net payment from his settlement of
                      $141,469.67, even though Defendant Goggin had promised a “life



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                       changing” amount of money and had expert reports supporting
                       $2,921,193.40 in economic damages.

       193.    This scheme has caused significant economic damages to Mr. Murtaugh

       194.    Defendants carried out this scheme over the course of several years and through at

least six different funding agreements.

       195.    Based on the language in the funding agreement, including language that

Defendant Jordan Litigation Funding was giving a preferred rate because Mr. Goggin was Mr.

Murtaugh’s lawyer, it is believed that Defendants have conducted this scheme with other clients

of Defendant Goggin.

       196.    Defendant Goggin is also well-familiar with litigation funding, having previously

been an owner in a similar company – a company called Main Steet Business Funding, LLC.

       197.    Main Street Business Funding, LLC was a “factoring company,” which would

provide advance cash to companies in exchange for the right to collect certain invoices for the

company and receive an additional fee for doing so – very similar in the way Defendant Jordan

Litigation Funding advances cash for lawsuit plaintiffs in exchange for a large fee.

       198.    Defendant Goggin’s funding business, Main Street Business Funding, LLC, has

since entered bankruptcy proceedings and is no longer operating. Defendant Goggin has also

been in a dispute with one of his prior business investors from Main Street Business Funding,

LLC.

       199.    In this dispute, Defendant Goggin’s former business investor has alleged that

Defendant Goggin mishandled his client’s money. It has been alleged that Defendant Goggin

“stole the majority of an Eight plus Million Dollar CSX settlement from a quadriplegic client.”

Defendant Goggin and his prior business partner are engaged in active litigation in the case




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Keller & Goggin PC v. Jack and Lori Lane, No. CV-2021-009465 (Del. C.C.P.), among other

dockets.

       200.    Defendant Goggin was also a shareholder of the company called Vermillion, Inc.

In this role, Defendant Goggin brought a derivative claim against Vermillion, which was quickly

dismissed by the State of Delaware Court of Chancery. The Delaware Court of Chancery found

Defendant Goggin to have violated ethical rules and acted improperly before the Court, opining:

               Goggin, one of the Plaintiffs in this action and a practicing attorney
               in Philadelphia, claims that, although he had previously only seen
               notarizations performed when the signer was actually in the
               presence of the notary, he approached Bennett about notarizing
               Bessenyei’s signature and relied on her determination that
               notarizing the document of someone outside her presence was
               permitted. As a Pennsylvania attorney, Goggin ought to have
               known better.

               Goggin’s conduct in this litigation would seem to violate each
               of these ethical rules. On three separate occasions, Goggin
               caused his legal assistant to notarize verifications improperly,
               in violation of Pennsylvania law and in violation of Goggin’s
               own professional ethical responsibilities. On each occasion after
               Bennett affixed her notary seal to the verifications, Goggin, with
               full knowledge that the jurat on the documents incorrectly stated
               that it had been “SWORN TO and subscribed before” the notary
               by Bessenyei, transmitted the documents to Delaware counsel to be
               used in this litigation.

Bessenyei v. Vermillion, Inc., C.A. No. 7572-VCN (Del. Ch. Nov. 16, 2012) (emphasis added).

       201.    Defendant Norris Jordan, the owner of Defendant Jordan Litigation Funding, also

has a history of fraudulent conduct. The Financial Industry Regulatory Authority (FINRA) is the

largest independent regulator of all securities firms in the United States, aiming to ensure that the

investment industry operates fairly and honestly. In 2017, FINRA hearing officers found that

Defendant Norris Jordan engaged in fraudulent conduct, including violations of the Securities




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Exchange Act of 1934 Section 10(b), Securities and Exchange Commission (SEC) Rule 10b-5,

and MSRB Rule G-17.

       202.    The FINRA Office of Hearing Officers found that Defendant Norris Jordan:

               committed omissions of material fact when he failed to disclose the
               trades to the ultimate purchasers of the municipal bonds, in
               violation of the antifraud provisions of the federal securities laws;
               (2) Jordan engaged in deceptive, dishonest, and unfair practices in
               violation of MSRB Rules; (3) Jordan reported fictitious
               transactions in violation of MSRB Rules; and (4) Jordan provided
               false information to FINRA in violation of FINRA Rules. Market
               Regulation failed to meet its burden of proving that Jordan charged
               unfair and unreasonable prices in violation of MSRB Rules.1

       203.    Defendant Norris Jordan was suspended for one year from having association

with any company regulated by FINRA, was fined $7,000, and was ordered to pay disgorgement

of $25,657.

       204.    In sum, both principal actors behind the scheme to defraud Mr. Murtaugh –

Defendants Goggin and Norris Jordan – have adjudicated histories of engaging in fraudulent

conduct.

       205.    Thus, it should be no surprise that Defendants came together to create this scheme

to use Defendant Goggin’s attorney services and Defendant Jordan Litigation Funding’s services

to prey on people like Mr. Murtaugh by using the largely unregulated litigation funding industry.




1
 The full opinion of the FINRA Hearing Officer is available on FINRA’s webstie:
https://www.finra.org/sites/default/files/OHO_Jordan_20120317482-03_092617_0_0.pdf


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V.     CLAIMS

                   COUNT 1: CONDUCTING THE AFFAIRS OF A
                RACKETEERING ENTERPISE – RICO 18 U.S.C. § 1962(C)
                            Plaintiff v. All Defendants

       206.    The previous paragraphs are incorporated here as though set forth in their entirety.

       207.    This count is asserted against all Defendants, and all Defendants are “persons” for

purposes of 18 U.S.C. § 1962.

       208.    The Defendants violated RICO and Plaintiff was injured as a result.

       209.    Each Defendant is a “person” capable of holding a legal or beneficial interest in

property within the meaning of 18 U.S.C. § 1961(3).

       210.    Each Defendant violated 18 U.S.C. § 1962(c) by the acts described in the

preceding paragraphs and as further described below.

       211.    The RICO Enterprise consists of an association-in-fact, comprised of all

Defendants.

       212.    The Enterprise’s purpose was to enrich themselves through taking out

unauthorized litigation funding agreements from Mr. Murtaugh and passing the interest payment

onto Mr. Murtaugh.

       213.    The Enterprise engaged in, and affected, interstate commerce.

       214.    Each of the unauthorized and fraudulent litigation funding agreements required

material participation by all Defendants.

       215.    Defendants jointly conduct, manage, and control the affairs of the Enterprise. The

Enterprise could not function without Defendant Goggin and his firm providing the case that

could be collateralized or without Defendants Jordan Litigation Funding and Norris Jordan to

provide the funding.




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          216.   The Enterprise is a vehicle used by Defendants to carry out a pattern of

racketeering activity. All Defendants engaged in a pattern of racketeering activity by

continuously, repeatedly, and over a protracted period; participating in a scheme and artifice to

defraud in violation of 18 U.S.C. § 473 and § 1343. The pattern is continuing because

Defendants are still seeking to collect repayment by Mr. Murtaugh and are likely using their

scheme against of clients of Defendant Goggin.

          217.   Defendants violated the predicate act predicate act of dealing in counterfeit

obligations or securities, 18 U.S.C. § 473, by creating a false obligation on Mr. Murtaugh

through their secret litigation funding agreements and then attempting to collect the repayment

and interest from such agreement against Mr. Murtaugh.

          218.   Defendants violated the predicate act of wire fraud, 18 U.S.C. § 1343, by

transmitting and causing others to transmit, by means of wire in interstate commerce, writings,

signs, signals, pictures and sounds, all in furtherance of, and for the purposes of, executing a

scheme or artifice to defraud.

          219.   The predicate acts of dealing in counterfeit obligations and of wire fraud are

related because they have the same or similar purpose, they target the same victims, and they

have the same result: Defendants used Mr. Murtaugh’s case as collateral in an attempt to collect

exorbitant interest payments from the proceeds of his case.

          220.   The conduct complained of herein has been repeated at least six times during a

nearly 3-year period and is ongoing.

          221.   As a direct and proximate result of the Defendants’ pattern of racketeering

activity, Mr. Murtaugh was injured in his business and property. Plaintiff was directly caused to

suffer:




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               (a)     A potential claim against him for the repayment of the litigation funding
                       and any interest, totaling $135,492.81;

               (b)     Loss wages due to Defendant Mr. Goggin advising him to refrain from
                       working so that Defendant Goggin can continue on with his scheme,
                       totaling an amount to be determined but estimated at more than $75,000
                       per year for three years;

               (c)     Monetary harm from being required to take out his own litigation funding
                       agreement with Jordan Litigation Funding for $33,060, plus interest for a
                       total of over $59,450.44; and

               (d)     Monetary harm from being prevented from his case proceeding to trial by
                       Defendant Goggin and the Enterprise’s scheme of needing to assure
                       repayment, including the ability to present $2,570,408.40 in economic
                       harm, as well as non—economic harm.

       WHEREFORE, Plaintiff demands that judgment be entered against the Defendants,

jointly and severally, in favor of Plaintiffs for recoverable damages in excess of $2 million,

including an award of trebled damages as consistent with 18 U.S.C. § 1964(c), compensatory

damages, and actual damages, as well as reasonable attorneys’ fees and costs pursuant to 18

U.S.C. § 1964(c), prejudgment interest, post-judgment interest, and such further relief as this

Court deems just and proper.

   COUNT 2: CONSPIRACY TO CONDUCT THE AFFAIRS OF A RACKETEERING
                    ENTERPRISE – 18 U.S.C. § 1962(D)
                        Plaintiff v. All Defendants

       222.    The previous paragraphs are incorporated here as though set forth in their entirety.

       223.    This count is asserted against all Defendants.

       224.    Defendants have agreed and conspired to violate 18 U.S.C. § 1962(c) as set forth

above, in violation of 18 U.S.C. § 1962(d). Defendants have intentionally conspired and agreed

to directly, and indirectly, conduct and participate in the conduct of the affairs of the Enterprise

through a pattern of racketeering activity.




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       225.    Defendants knew that their predicate acts of dealing in counterfeit obligations and

wire fraud were part of a pattern of racketeering activity and agreed to the commission of those

acts to further their scheme to defraud Plaintiff Mr. Murtaugh.

       226.    As a direct and proximate result of Defendants’ conspiracy, and the multiple overt

acts taken by all Defendants in furtherance of that conspiracy, Mr. Murtaugh has been injured in

his business and property, including the damages listed above.

       WHEREFORE, Plaintiff demands that judgment be entered against the Defendants,

jointly and severally, in favor of Plaintiffs for recoverable damages in excess of $2 million,

including an award of trebled damages as consistent with 18 U.S.C. § 1964(c), compensatory

damages, and actual damages, as well as reasonable attorneys’ fees and costs pursuant to 18

U.S.C. § 1964(c), prejudgment interest, post-judgment interest, and such further relief as this

Court deems just and proper.

                               COUNT 3: SECURITIES FRAUD
                                 Plaintiff v. All Defendants

       227.    The previous paragraphs are incorporated here as though set forth in their entirety.

       228.    This count is asserted against all Defendants and is based on violations of Section

10(b) o the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated by the SEC.

       229.    It is a violation of the Exchange Act and the rules promulgated thereunder “[t]o

make any untrue statement of a material fact or to omit to state a material fact ... in connection

with the purchase or sale of any security.” 17 C.F.R. § 240.10b–5 (“Rule 10b-5”).

       230.    Defendants violated Rule 10b-5 by entering into secret litigation funding

agreements, using Mr. Murtaugh’s case as collateral, and seeking to recover the repayment and

interest on these agreements directly from Mr. Murtaugh.




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          231.   At all times, Defendant Goggin owed fiduciary duties and a duty of care to Mr.

Murtaugh and was required to disclose this information to Mr. Murtaugh.

          232.   Defendant Jordan Litigation Funding also knew that it was withholding material

information from Mr. Murtaugh by accepting the agreement with Defendant Goggin despite Mr.

Murtaugh not agreeing to the litigation funding.

          233.   At all times, Mr. Murtaugh reasonably relied on his attorney Defendant Goggin to

act in good faith.

          234.   As a direct and proximate result of the Defendants’ pattern of racketeering

activity, Mr. Murtaugh was injured in his business and property. Plaintiff was directly caused to

suffer:

                 (a)    A potential claim against him for the repayment of the litigation funding
                        and any interest, totaling $135,492.81;

                 (b)    Loss wages due to Defendant Mr. Goggin advising him to refrain from
                        working so that Defendant Goggin can continue on with his scheme,
                        totaling an amount to be determined but estimated at more than $75,000
                        per year for three years;

                 (c)    Monetary harm from being required to take out his own litigation funding
                        agreement with Jordan Litigation Funding for $33,060, plus interest for a
                        total of over $59,450.44; and

                 (d)    Monetary harm from being prevented from his case proceeding to trial by
                        Defendant Goggin and the Enterprise’s scheme of needing to assure
                        repayment, including the ability to present $2,570,408.40 in economic
                        harm, as well as non—economic harm.

          WHEREFORE, Plaintiff demands that judgment be entered against the Defendants,

jointly and severally, in favor of Plaintiffs for recoverable damages in excess of $2 million,

including an award of trebled damages, compensatory damages, and actual damages, as well as

reasonable attorneys’ fees and costs, prejudgment interest, post-judgment interest, and such

further relief as this Court deems just and proper.



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                        COUNT 4: FRAUDULENT INDUCEMENT
                       Plaintiff v. Defendants Goggin and Goggin Firm

       235.    The previous paragraphs are incorporated here as though set forth in their entirety.

       236.    Defendants Goggin Firm acted through the conduct of its agents, servants,

employees, and ostensible agents, including Defendant Goggin. Defendant Goggin Firm is liable

for its own fraud and the fraud of its agents, servants, employees, and ostensible agents,

including co-Defendants.

       237.    Even though a settlement was ultimately reached in the underlying case against

Amtrak and T-Mobile, Mr. Murtaugh may bring this action against Defendant Goggin and

Goggin Firm because they fraudulently induced Mr. Murtaugh to settle his claim.

       238.    Defendants made material misleading and knowingly false statements, including

withholding information they had a duty to disclose, to Mr. Murtaugh.

       239.    The fraudulent and outrageous conduct of Defendants Goggin and Goggin Firm

includes:

               a.      Concealing from Mr. Murtaugh that their true reason for wanting to settle
                       were based on the firm’s and their own financial interests;

               b.      Concealing from Mr. Murtaugh that Defendant Jordan Litigation
                       Funding’s financial interests were influencing Defendant Goggin’s
                       decisions and advice;

               c.      Fraudulently claiming that Amtrak and T-Mobile would withdraw their
                       settlement offer if Mr. Murtaugh did not agree to settle on Friday,
                       February 24, 2023;

               d.      Falsely claiming that Defendant Goggin could not calculate the costs and
                       fees on Mr. Murtaugh’s case in sufficient time before ending to accept the
                       settlement offer;

               e.      Falsely claiming that they were committed to taking the case to trial;




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               f.     Advising Amtrak’s counsel that Mr. Murtaugh accepted the settlement
                      offer on February 24, 2023 despite the fact that Mr. Murtaugh had not yet
                      conveyed such acceptance;

               g.     Concealing from Mr. Murtaugh that he had accepted the settlement with
                      Amtrak on his behalf before receiving his consent to the settlement;

               h.     Misrepresenting that the status of settlement negotiations and what could
                      be accomplished in settlement negotiations;

               i.     Concealing from Mr. Murtaugh that Defendant Goggin and Goggin Firm
                      were unwilling to accept the risk of paying experts to go to trial;

               j.     Intentionally withholding information that Defendants knew was material
                      to Mr. Murtaugh, such as the relative merits of the case, the alternatives to
                      settling, and the financial motivations of Defendants;

               k.     Falsely claiming that it would benefit Mr. Murtaugh’s case if he did not
                      return to work;

               l.     Intentionally advising and encouraging Mr. Murtaugh to wait until after
                      his deposition to return to work, such that Mr. Murtaugh would have to
                      deceive Amtrak and/or perjure himself at trial;

               m.     Falsely advising Mr. Murtaugh that taking out a litigation funding
                      agreement for living expenses was in Mr. Murtaugh’s best interest; and

               n.     Concealing form Mr. Murtaugh that Defendant Goggin was taking out
                      additional litigation funding agreements against Mr. Murtaugh’s case to
                      pay for litigation expenses.

       240.    Defendants intended that Mr. Murtaugh would rely on their fraudulent statements

and intended that their conduct would induce him to accept a settlement with Amtrak and T-

Mobile.

       241.    Mr. Murtaugh justifiably relied on the fraudulent statements and conduct of

Defendants.

       242.    The fraudulent conduct of Defendants directly resulted in Plaintiffs accepting a

settlement far below a reasonable amount, as well as other financial harm, such as several years

of lost wages and unnecessary litigation funding bills.



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        WHEREFORE, Plaintiff demands judgment for compensatory and punitive damages

upon this Count of the Complaint against Defendants, individually, jointly and/or severally,

together with costs of suit, interest, and attorney’s fees.

                                    COUNT 5: NEGLIGENCE
                        Plaintiff v. Defendants Goggin and Goggin Firm

        243.    The previous paragraphs are incorporated here as though set forth in their entirety.

        244.    Defendants Goggin Firm acted through the conduct of its agents, servants,

employees, and ostensible agents, including Defendant Goggin. Defendant Goggin Firm is liable

for its own fraud and the fraud of its agents, servants, employees, and ostensible agents,

including co-Defendants.

        245.    Defendants Goggin and Goggin Firm owed Mr. Murtaugh a duty to refrain from

negligent conduct by virtue of their attorney-client relationship.

        246.    Plaintiffs may bring this claim against Defendants, even though a settlement

ultimately was reached in the underlying case, because Defendants misstated the effect of the

settlement agreement, including that Defendants took out secret litigation funding agreements.

        247.    The negligence and outrageous conduct of Defendants Clark Hill, Rodney, and

Roskovensky includes, but is not limited to, the following:

                a.      Failing to abide by the Pennsylvania Rules of Professional Conduct,
                        including Rules 1.2, 1.3, 1.4, 1.5, 1.7, 1.8, 1.16, 2.1, and 5.4.;

                b.      Failing to obtain a reasonable settlement;

                c.      Failing to obtain Mr. Murtaugh’s informed consent before settling his
                        case;

                d.      Failing to provide Mr. Murtaugh with a timely accounting of his case;

                e.      Failing to prepare for trial such that Mr. Murtaugh’s case would be
                        prejudiced at trial if he did not settle;




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      f.    Failing to advise Mr. Murtaugh to seek disability benefits;

      g.    Failing to advise Mr. Murtaugh to seek work that accommodated his
            injuries;

      h.    Advising Mr. Murtaugh to accept high interest litigation funding payments
            to support his living expenses;

      i.    Failing to advise Mr. Murtaugh on the details, risks, and alternatives to
            litigation funding;

      j.    Failing to inform Mr. Murtaugh that the Goggin Firm did not have the
            financial resources available to handle his case;

      k.    Failing to inform Mr. Murtaugh that Defendants were taking out litigation
            funding agreements to cover case expense;

      l.    Failing to inform Mr. Murtaugh that he would be liable for interest on the
            undisclosed funding agreements;

      m.    Failing to inform Mr. Murtaugh on the full relationship between
            Defendants Goggin and Jordan Litigation Funding;

      n.    Failing to advise Mr. Murtaugh that they were not committed to taking his
            case to trial if necessary;

      o.    Concealing from Mr. Murtaugh that he had accepted the settlement with
            Amtrak on his behalf before receiving his consent to the settlement;

      p.    Misrepresenting that the status of settlement negotiations and what could
            be accomplished in settlement negotiations;

      q.    Failing to advise Mr. Murtaugh that he would still have the opportunity to
            settle his case if he did not accept the settlement on February 24, 2023;

      r.    Failing to advise Mr. Murtaugh that they could have provided him with an
            accounting, or at least an estimated accounting, of his case costs and fees
            on February 24, 2023 before settling his case;

      s.    Failing to provide Mr. Murtaugh with an accounting, or at least an
            estimated accounting, of his case costs and fees on February 24, 2023
            before settling his case;

      t.    Negligently recommending Mr. Murtaugh settle his case for a small
            fraction of what it was potentially worth at trial;




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                u.      Failing to provide appropriate advice about the prospects of the case if it
                        did not settle;

                v.      Negligently pressuring, intimidating, coercing, berating and cajoling Mr.
                        O’Brien to settle;

                w.      Failing to take steps to protect Mr. Murtaugh’s interests over Defendants’
                        financial interests;

                x.      Failing to take steps to protect Mr. Murtaugh’s interests over Defendant
                        Jordan Litigation Funding’s financial interests; and

                y.      Failing to provide Mr. Murtaugh with all material information necessary
                        to make informed decisions about settlement.

        248.    Defendants’ negligence directly resulted in Plaintiffs accepting a settlement far

below the case’s value, as well as other financial harm, such as several years of lost wages and

unnecessary litigation funding bills.

        249.    Defendants’ conduct was not merely negligent, but was outrageous, reckless and

in disregard of their client’s best interests, justifying the imposition of punitive damages.

        WHEREFORE, Plaintiff demands judgment for compensatory and punitive damages

upon this Count of the Complaint against Defendants, individually, jointly and/or severally,

together with costs of suit, interest, and attorney’s fees.

                         COUNT 6: BREACH OF FIDUCIARY DUTY
                        Plaintiff vs. Defendants Goggin and Goggin Firm

        250.    The previous paragraphs are incorporated here as though set forth in their entirety.

        251.    As Mr. Murtaugh’s attorneys, Defendants Goggin and Goggin Firm owed Mr.

Murtaugh common law fiduciary duties.

        252.    These fiduciary duties included the requirement that Defendant Goggin and

Goggin Firm act with the utmost good faith and solely for the benefit of the client in all matters

for which they were employed.




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253.   Defendants’ breaches of fiduciary duties include the following:

       a.     Failing to abide by the Pennsylvania Rules of Professional Conduct,
              including Rules 1.2, 1.3, 1.4, 1.5, 1.7, 1.8, 1.16, 2.1, and 5.4.;

       b.     Failing to obtain a reasonable settlement;

       c.     Failing to obtain Mr. Murtaugh’s informed consent before settling his
              case;

       d.     Failing to provide Mr. Murtaugh with a timely accounting of his case;

       e.     Failing to prepare for trial such that Mr. Murtaugh’s case would be
              prejudiced at trial if he did not settle;

       f.     Failing to advise Mr. Murtaugh to seek disability benefits;

       g.     Failing to advise Mr. Murtaugh to seek work that accommodated ihis
              injuries;

       h.     Advising Mr. Murtaugh to accept high interest litigation funding payments
              to support his living expenses;

       i.     Failing to advise Mr. Murtaugh on the details, risks, and alternatives to
              litigation funding;

       j.     Failing to inform Mr. Murtaugh that the Goggin Firm did not have the
              financial resources available to handle his case;

       k.     Failing to inform Mr. Murtaugh that Defendants were taking out litigation
              funding agreements to cover case expense;

       l.     Failing to inform Mr. Murtaugh that he would be liable for interest on the
              undisclosed funding agreements;

       m.     Failing to inform Mr. Murtaugh on the full relationship between
              Defendants Goggin and Jordan Litigation Funding;

       n.     Failing to advise Mr. Murtaugh that they were not committed to taking his
              case to trial if necessary;

       o.     Concealing from Mr. Murtaugh that he had accepted the settlement with
              Amtrak on his behalf before receiving his consent to the settlement;

       p.     Misrepresenting that the status of settlement negotiations and what could
              be accomplished in settlement negotiations;



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                q.      Failing to advise Mr. Murtaugh that he would still have the opportunity to
                        settle his case if he did not accept the settlement on February 24, 2023;

                r.      Failing to advise Mr. Murtaugh that they could have provided him with an
                        accounting, or at least an estimated accounting, of his case costs and fees
                        on February 24, 2023 before settling his case;

                s.      Failing to provide Mr. Murtaugh with an accounting, or at least an
                        estimated accounting, of his case costs and fees on February 24, 2023
                        before settling his case;

                t.      Negligently recommending Mr. Murtaugh settle his case for a small
                        fraction of what it was potentially worth at trial;

                u.      Failing to provide appropriate advice about the prospects of the case if it
                        did not settle;

                v.      Negligently pressuring, intimidating, coercing, berating and cajoling Mr.
                        O’Brien to settle;

                w.      Failing to take steps to protect Mr. Murtaugh’s interests over Defendants’
                        financial interests;

                x.      Failing to take steps to protect Mr. Murtaugh’s interests over Defendant
                        Jordan Litigation Funding’s financial interests;

                y.      Failing to provide Mr. Murtaugh with all material information necessary
                        to make informed decisions about settlement.

                z.      Failing to act with good faith towards Mr. Murtaugh; and

                aa.     Failing to act solely for Mr. Murtaugh’s benefit.

        254.    Defendants’ breaches of fiduciary duties directly resulted in Mr. Murtaugh

accepting a settlement far below a reasonable amount.

        255.    Defendant Goggin Firm is liable for its own conduct and was as vicariously liable

for Defendant Goggin’s conduct.

        WHEREFORE, Plaintiffs demand judgment for compensatory and punitive damages

upon this Count of the Complaint against Defendants, individually, jointly and/or severally,

together with costs of suit, interest, and attorney’s fees.



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   COUNT 7: VIOLATION OF PENNSYLVANIA UNFAIR TRADE PRACTICES AND
                CONSUMER PROTECTION LAW 73 P.S. § 201-1
                         Plaintiff v. All Defendants

       256.    The previous paragraphs are incorporated here as though set forth in their entirety.

       257.    All Defendants engaged in fraudulent or deceptive conduct that created a

likelihood of confusion or of misunderstanding about the litigation funding agreements.

       258.    This includes Defendants entering secret litigation funding agreements and then

seeking to recover repayment and interest under those agreements against Plaintiff.

       259.    Plaintiff has suffered injuries and damages as a direct and proximate result of this

conduct, as described above.

       WHEREFORE, Plaintiffs demand judgment for compensatory and punitive damages

upon this Count of the Complaint against Defendants, individually, jointly and/or severally,

together with costs of suit, interest, attorney’s fees, and all other damages available under the

UTPCPL.

                                  COUNT 8: Civil Conspiracy
                                   Plaintiff v. All Defendants

       260.    The previous paragraphs are incorporated here as though set forth in their entirety.

       261.    All Defendants in the matter acted with a common purpose to do the unlawful and

outrageous act of entering predatory litigation funding agreements, including both the agreement

for to provide funding for Mr. Murtaugh’s living expenses and the secret agreements between

Defendants alone, as described throughout this Complaint.

       262.    Several overt acts were committed in pursuance of this common purpose,

including but not limited to entering the litigation funding agreements.

       263.    Mr. Murtaugh has suffered actual legal damages as described throughout this

Complaint.



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       WHEREFORE, Plaintiff demands damages in excess of local arbitration limits be

awarded in his favor and against all Defendants, jointly and severally, together with punitive

damages, interest, costs, and whatever other relief is deemed just and appropriate under the

circumstances.

                                COUNT 9: Declaratory Judgment
                                  Plaintiff v. All Defendants

       264.      The previous paragraphs are incorporated here as though set forth in their entirety.

       265.      Under the Declaratory Judgment Act (the “Act”), 42 Pa. C.S. § 7531-41,

Pennsylvania courts “have power to declare rights, status, and other legal relations whether or

not further relief is or could be claimed.” According to the Act, “any person … whose rights,

status or other legal relations are affected by a statute, municipal ordinance, contract or franchise,

may have determined any question of construction or validity arising under the instrument,

statute, ordinance, contract or franchise and obtain a declaration of rights, status or other legal

relations thereunder.” The power of the courts to grant declaratory relief is to “be liberally

construed and administered.”

       266.      There is an actual, substantial, justiciable, and immediate controversy about the

validity of the litigation funding agreements.

       267.      A declaratory judgment regarding Mr. Murtaugh’s responsibility for repaying the

litigation funding agreements will clarify conclusively the legal rights, status, relations, and

obligations of the parties.

       268.      Mr. Murtaugh is entitled to a judicial declaration that he is not responsible for the

repayment of either the cash advance or the accumulated interest of the various litigation funding

agreements.




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       269.    Rather, the agreements reached between Defendants Goggin and Jordan Litigation

Firm are solely between those parties and Defendant Goggin is solely, or jointly with his firm,

responsible for paying anything that may be due and owing to Jordan Litigation Funding.

       270.    Further, because the litigation funding agreement taken by Mr. Murtaugh for his

personal expenses was the result of Defendants’ fraudulent, negligent, and unethical advice,

Defendant Goggin should be responsible for repaying any amount, including both principal and

interest, of this agreement.

       271.    Finally, because the agreement between Mr. Murtaugh and Jordan Litigation

Funding is the result of a fraudulent, predatory, vague, and unconscionable arrangement in favor

of Jordan Litigation Funding, Mr. Murtaugh should not be responsible for repaying any amount,

including both principal and interest, of this agreement.

       WHEREFORE, Plaintiff seeks declaratory judgment that he is not responsible for

repaying any cash advance or interest to Jordan Litigation Funding.

                                                       FREIWALD LAW, P.C.


                                              By:      s/Aaron J. Freiwald
                                                       AARON J. FREIWALD, ESQUIRE
                                                       ZACHARY S. FEINBERG, ESQUIRE
                                                       Counsel for Plaintiff

Date: January 3, 2024




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